Case 2:05-cr-20040-.]DB Document 23 Filed 06/02/05 Page 1 of 2 PagelD 15

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uNlTED sTATEs oF AMERicA, $§H§i-~= U~f§§ §§§PE§§

Piaintiff,

VS.
CR. NO. 05-20040-|3

W|LL|E TAYLOR,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lVlay 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
re ort date of Monda Jul 25 2005 at 9:30 a.m., in Courtroom 1, 11th Floor of the

 

 

Federa| Building, l\/lemphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy tria|.
lT |S SO ORDERED this § day of June, 2005.

 

1 llanca J. D NIEL BREEN \
treat everett on the docket 5 UN| ED S_|_ATES D|STR|CT JUDGE

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with Rule 55 anoior harm mm

 

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This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20040 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

